Case 1:21-cv-05316-NRM-TAM                           Document 45               Filed 12/02/22              Page 1 of 2 PageID #:
                                                           1332


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 December 2, 2022                                                                                                 D: +1 310 246 6850
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 The Honorable Nina R. Morrison
 U.S. District Court for the Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re:       Marvel Characters, Inc. v. Solo et al., No. 1:21-cv-05316-NM-TAM

 Dear Judge Morrison:

 Pursuant to this Court’s November 28, 2022 Order, Plaintiff Marvel Characters, Inc. (“MCI”)
 respectfully submits the attached Local Rule 56.1 statement for MCI’s anticipated motion for
 summary judgment on Defendants Nanci Solo and Erik Colan’s (“Defendants”) lack of standing
 to exercise the purported copyright termination interest of deceased artist Eugene “Gene” Colan
 pursuant to Section 304 of the Copyright Act.

 MCI’s November 11 pre-motion letter details the facts relevant to its anticipated motion. See
 Dkt. 43 at 1-4. And Defendants’ November 25 response confirms that those facts are
 undisputed. See Dkt. 44. Specifically, the parties agree that Gene Colan had four biological
 children—Defendants Nanci Solo and Erik Colan, Jill Kubicki, and the late Valerie Waldman—
 and that Valerie is survived by her daughter Rachel. See Dkt. 43 at 2-3; Dkt. 44 at 3; Dkt. 44-2
 at 2; Dkt. 36 at 2, 4; MCI’s L.R. 56.1 Stmt. of Material Facts.1

 Therefore, the parties’ dispute is limited to a discrete legal issue—whether Gene Colan’s
 children from his first marriage are his children for purposes of Section 304. If so, as MCI
 contends, then Defendants hold only a 50% interest in any termination rights of Gene Colan and
 thus lack the requisite majority interest to effect a termination under Section 304, thereby
 rendering invalid their termination notices for lack of standing. See 17 U.S.C. § 304(c)(l)
 (“termination of the grant may be effected . . . by the person or persons who . . . own and are
 entitled to exercise a total of more than one-half of that author’s termination interest”) (emphasis
 added). If not, as Defendants contend, then Defendants own the entire interest in any termination
 rights of Gene Colan and have standing.

 Because MCI’s forthcoming motion for summary judgment will explain why Defendants lack
 standing under binding Second Circuit precedent, MCI does not address the merits here. See
 Nov. 28, 2022 Order (providing that the parties need not file new letters). That said, MCI is
 compelled to briefly address Defendants’ procedural claim that MCI’s anticipated motion is
 “moot” in light of the purported “alternate notice[s] of termination” served on November 15,
 2022, on behalf of Defendants and Gene Colan’s “biological grandchild” Rachel Waldman (the

 1
   In accordance with this Court’s November 28, 2022 Order, MCI has included all original attachments to
 its pre-motion letter with its Rule 56.1 statement.



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Case 1:21-cv-05316-NRM-TAM               Document 45          Filed 12/02/22       Page 2 of 2 PageID #:
                                               1333



 “Alternate Notices”). See Dkt. 44 at 3. As the Alternate Notices themselves confirm,
 Defendants refuse to withdraw the original notices of termination that they alone served (the
 “Original Notices”), taking the position that the purported alternate notices apply only “in the
 event that the prior notice[s] [are] deemed ineffective.” See Dkt. 44-3 at 2 n.1, 9 n.1, 14 n.1, 20
 n.1. Thus, MCI’s motion—which seeks a judicial determination that the Original Notices are
 “ineffective” because Defendants possess no more than half of Gene Colan’s purported
 termination interest—is plainly not moot, but rather is necessary to determine whether the
 Original Notices (i.e., the only notices currently at issue in the pending litigation) fail for lack of
 standing.2

 Accordingly, MCI respectfully reiterates its prior request to file a motion for summary judgment
 on the dispositive legal issue of Defendants’ lack of standing to exercise Gene Colan’s purported
 termination interest.3

 Respectfully submitted,


 By:   /s/ Daniel M. Petrocelli

 Daniel M. Petrocelli
 of O’Melveny & Myers LLP
 for plaintiff and counterclaim-defendant
 Marvel Characters, Inc.




 2
  MCI’s motion would be mooted only if Defendants were to formally withdraw the Original Notices—
 something they have declined to do.
 3
   In the event its standing motion is denied, MCI will seek summary judgement with respect to the
 Original Notices—or the Alternate Notices should they become at issue in this case—on the ground that
 no termination rights exist because all the works in both sets of termination notices are works made for
 hire. See Sira v. Morton, 380 F.3d 57, 68 (2d Cir. 2004) (“[D]istrict courts enjoy considerable discretion
 in entertaining successive dispositive motions.”).


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